
HURLEY, Judge,
concurring specially.
In addition to the compelling policy considerations set forth in Hicks v. State, 452 So.2d 606 (Fla. 4th DCA 1984), it is important to note that in Florida imposition of sentence is withheld when a defendant is placed on probation. See § 948.01(3), Fla. Stat. (1983). Consequently, Florida’s method of processing probation revocations is factually indistinguishable from that described in Mempa v. Rhay, 389 U.S. 128, 88 S.Ct. 254, 19 L.Ed.2d 336 (1967), and, therefore, I believe that appointment of counsel is constitutionally mandated. See In re Wentworth, 17 Wash.App. 644, 564 P.2d 810 (1977).
